                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           CASE NO. 3:23-CV-813-KDB-DCK

 RUSSELL PFEFFER, et al.,                          )
                                                   )
                 Plaintiff,                        )                 ORDER
                                                   )
    v.                                             )
                                                   )
 BANK OF AMERICA CORPORATION,                      )
 and BANK OF AMERICA N.A.,                         )
                                                   )
                 Defendants.                       )
                                                   )

         THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 127) filed by Local Counsel Meredith A. Pinson on January

27, 2025.

         Applicant Elena D. Marcuss seeks to appear as counsel pro hac vice for Defendants. Upon

review and consideration of the motion, which was accompanied by submission of the necessary

fee and information, the Court will grant the motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 127) is GRANTED. Elena D.

Marcuss is hereby admitted pro hac vice to represent Defendants.

         SO ORDERED.
                        Signed: January 27, 2025




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